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                                   EXHIBIT A


No items are applicable to list.
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                                   EXHIBIT B


No items are applicable to list.
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                                   EXHIBIT C


No items are applicable to list.
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                                   EXHIBIT D


8.00 Dollars to First Citizens Bank for Paper Statements.
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                               EXHIBIT E


SPECTRUM:                                              $1,420.30

ZUNIGA POOL & SPA:                                       $300.00

GERMAN CRUZ LANDSCAPING:                                 $500.00

CREATIVE ART PARTNERS:                                 $7,665.00

TOTAL:                                                 $9,885.30
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                                   EXHIBIT F


No items are applicable to list.
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